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                                            Exhibit A

                     Summary of Fees by Individual for the Application Period




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                   SUMMARY OF FEES BY INDIVIDUAL FOR THE APPLICATION PERIOD
                    (NOVEMBER 1, 2022 THROUGH AND INCLUDING OCTOBER 8, 2024) 1

                                                                         Year of                                 Total
                                                         Year of                                                                 Total
    Timekeeper Name                   Position                          Law School         Hourly Rate           Hours
                                                        Admission                                                             Compensation
                                                                        Graduation                               Billed
Ansari, Mehdi                    Partner                    2009           2008                $2,165.00         175.90          $380,823.50
Ansari, Mehdi                    Partner                    2009           2008                $2,375.00          25.20           $59,850.00
Bander, Jeannette E.             Partner                    2012           2011                $2,030.00          50.80          $103,124.00
Bander, Jeannette E.             Partner                    2012           2011                $2,135.00         107.80          $230,153.00
Bander, Jeannette E.             Partner                    2012           2011                $2,295.00          19.90           $45,670.50
Beatty, Chris                    Partner                    2005           2004                $2,165.00         149.50          $323,667.50
Beatty, Chris                    Partner                    2005           2004                $2,375.00           5.60           $13,300.00
Beeney, Garrard R.               Partner                    1980           1979                $2,165.00           2.40            $5,196.00
Beller, Benjamin S.              Partner                    2014           2013                $848.00**           8.50            $7,208.00
Beller, Benjamin S.              Partner                    2014           2013                $1,695.00         307.10          $520,534.50
Berrar, Carsten                  Partner                    2001           1999                $2,165.00           0.30              $649.50
Birke, Max                       Partner                    2000           1999                $2,165.00          97.50          $211,087.50
Birke, Max                       Partner                    2000           1999                $2,375.00           5.00           $11,875.00
Blackmore, Vanessa K.            Partner                    1989           1985                $2,165.00           2.00            $4,330.00
Blass, Dalia O.                  Partner                    2000           1999                $2,165.00           5.20           $11,258.00
Bromley, James L.                Partner                    1990           1989              $1,083.00**          34.40           $37,255.20
Bromley, James L.                Partner                    1990           1989              $1,188.00**          19.00           $22,572.00
Bromley, James L.                Partner                    1990           1989                $2,165.00        1,204.80       $2,608,392.00
Bromley, James L.                Partner                    1990           1989                $2,375.00         303.60          $721,050.00
Cohen, Audra D.                  Partner                    1993           1992                $2,165.00        1,319.40       $2,856,501.00
Cohen, Audra D.                  Partner                    1993           1992                $2,375.00          60.10          $142,737.50
Croke, Jacob M.                  Partner                    2011           2010                $2,135.00         520.80        $1,111,908.00
Croke, Jacob M.                  Partner                    2011           2010                $2,165.00        2,243.70       $4,857,610.50
Croke, Jacob M.                  Partner                    2011           2010                $2,335.00        1,723.40       $4,024,139.00
De Leeuw, Marc                   Partner                    1992           1992              $1,083.00**           2.50            $2,707.50
De Leeuw, Marc                   Partner                    1992           1992              $1,188.00**           4.50            $5,346.00
De Leeuw, Marc                   Partner                    1992           1992                $2,165.00          89.40          $193,551.00
De Leeuw, Marc                   Partner                    1992           1992                $2,375.00         312.70          $742,662.50
de Vito Piscicelli, Oderisio     Partner                    1998           1997                $2,165.00         942.20        $2,039,863.00
de Vito Piscicelli, Oderisio     Partner                    1998           1997                $2,375.00         423.80        $1,006,525.00
DeCamp, Justin J.                Partner                    2006           2005              $1,188.00**           5.20            $6,177.60
DeCamp, Justin J.                Partner                    2006           2005                $2,165.00         190.90          $413,298.50
DeCamp, Justin J.                Partner                    2006           2005                $2,375.00         326.90          $776,387.50
Diamond, Eric M.                 Partner                    2011           2010                $2,165.00          24.20           $52,393.00
Diamond, Eric M.                 Partner                    2011           2010                $2,335.00           3.60            $8,406.00
Dietderich, Andrew G.            Partner                    1997           1995              $1,083.00**          47.70           $51,659.10
Dietderich, Andrew G.            Partner                    1997           1995              $1,188.00**          14.70           $17,463.60
Dietderich, Andrew G.            Partner                    1997           1995                $2,165.00        2,231.10       $4,830,331.50
Dietderich, Andrew G.            Partner                    1997           1995                $2,375.00         970.90        $2,305,887.50

           1
                For certain timekeepers, his or her individual rate increased during the relevant fee period as a result of
                matriculation.



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                                                           Year of                     Total
                                               Year of                                              Total
    Timekeeper Name                Position               Law School   Hourly Rate     Hours
                                              Admission                                          Compensation
                                                          Graduation                   Billed
Downes, Robert W.              Partner          1992         1991         $2,165.00      1.10         $2,381.50
Dunne, Christopher J.          Partner          2006         2005       $1,083.00**      1.20         $1,299.60
Dunne, Christopher J.          Partner          2006         2005       $1,188.00**      7.00         $8,316.00
Dunne, Christopher J.          Partner          2006         2005         $2,165.00   1,636.50    $3,543,022.50
Dunne, Christopher J.          Partner          2006         2005         $2,375.00    898.80     $2,134,650.00
Ehrenberg, Stephen             Partner          2003         2002         $2,165.00    774.60     $1,677,009.00
Ehrenberg, Stephen             Partner          2003         2002         $2,375.00    401.50       $953,562.50
Eitel, Mitchell S.             Partner          1988         1987       $1,083.00**      7.00         $7,581.00
Eitel, Mitchell S.             Partner          1988         1987         $2,165.00    150.00       $324,750.00
Eitel, Mitchell S.             Partner          1988         1987         $2,375.00      1.10         $2,612.50
Finn, Andrew J.                Partner          2009         2008         $2,165.00      0.30           $649.50
Fishman, Jared M.              Partner          2006         2005         $2,165.00      0.50         $1,082.50
Frawley, Brian T.              Partner          1993         1993         $2,165.00      2.00         $4,330.00
Friedlander, Nicole            Partner          2002         2001       $1,083.00**      1.20         $1,299.60
Friedlander, Nicole            Partner          2002         2001         $2,165.00   1,481.30    $3,207,014.50
Friedlander, Nicole            Partner          2002         2001         $2,375.00     23.00        $54,625.00
Gilberg, David J.              Partner          1981         1981         $2,165.00     69.60       $150,684.00
Glueckstein, Brian D.          Partner          2004         2003       $1,083.00**     25.40        $27,508.20
Glueckstein, Brian D.          Partner          2004         2003       $1,188.00**     16.90        $20,077.20
Glueckstein, Brian D.          Partner          2004         2003         $2,165.00   3,059.20    $6,623,168.00
Glueckstein, Brian D.          Partner          2004         2003         $2,375.00   2,006.30    $4,764,962.50
Guzior, Dustin F.              Partner          2011         2010         $2,165.00      9.80        $21,217.00
Hamilton, Brian E.             Partner          1999         1998         $2,165.00     49.60       $107,384.00
Hariton, David P.              Partner          1986         1985         $2,165.00   1,255.90    $2,719,023.50
Hariton, David P.              Partner          1986         1985         $2,375.00   1,395.10    $3,313,362.50
Hatano, Keiji                  Partner          2000         2000         $2,165.00    168.30       $364,369.50
Hatano, Keiji                  Partner          2000         2000         $2,375.00      8.20        $19,475.00
Hearn, Joseph A.               Partner          2007         2006         $2,165.00      1.50         $3,247.50
Hearn, Joseph A.               Partner          2007         2006         $2,375.00      1.20         $2,850.00
Hochberg, Jeffrey D.           Partner          1996         1995         $2,165.00      4.00         $8,660.00
Hochberg, Jeffrey D.           Partner          1996         1995         $2,375.00      0.40           $950.00
Holley, Steven L.              Partner          1984         1983         $2,165.00    313.10       $677,861.50
Holley, Steven L.              Partner          1984         1983         $2,375.00     15.00        $35,625.00
Howard, Christopher J.         Partner          1996         1992       $1,083.00**      4.90         $5,306.70
Howard, Christopher J.         Partner          1996         1992         $2,165.00    338.40       $732,636.00
Howard, Christopher J.         Partner          1996         1992         $2,375.00     72.50       $172,187.50
Jones Jr., Waldo D.            Partner          1991         1990         $2,165.00      5.50        $11,907.50
Jones, Craig                   Partner          1996         1996         $2,165.00     69.20       $149,818.00
Jones, Craig                   Partner          1996         1996         $2,375.00     28.70        $68,162.50
Kadel Jr., Eric J.             Partner          2000         1997         $2,165.00      8.10        $17,536.50
Kadel Jr., Eric J.             Partner          2000         1997         $2,375.00      2.40         $5,700.00
Karmin, Nicolas                Partner          2015         2014         $1,975.00      0.50           $987.50
Kent, Benjamin S.D.            Partner          2010         2009         $2,160.00      9.60        $20,736.00
Kranzley, Alexa J.             Partner          2009         2008         $928.00**     15.00        $13,920.00
Kranzley, Alexa J.             Partner          2009         2008       $1,080.00**      5.80         $6,264.00
Kranzley, Alexa J.             Partner          2009         2008         $1,855.00   1,865.60    $3,460,688.00


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                                                           Year of                     Total
                                               Year of                                              Total
   Timekeeper Name                 Position               Law School   Hourly Rate     Hours
                                              Admission                                          Compensation
                                                          Graduation                   Billed
Kranzley, Alexa J.             Partner          2009         2008         $2,160.00   1,174.10    $2,536,056.00
Levin, Sharon Cohen            Partner          1985         1985         $2,165.00    283.60       $613,994.00
Levin, Sharon Cohen            Partner          1985         1985         $2,375.00      9.20        $21,850.00
Lewis, Anthony J.              Partner          2004         2003         $2,135.00    382.50       $816,637.50
Lewis, Anthony J.              Partner          2004         2003         $2,165.00   1,057.20    $2,288,838.00
Lewis, Anthony J.              Partner          2004         2003         $2,335.00     99.90       $233,266.50
Li, Ken                        Partner          2014         2013         $1,850.00     73.90       $136,715.00
Li, Ken                        Partner          2014         2013         $2,160.00     82.00       $177,120.00
Littleton, Judson O.           Partner          2008         2008         $2,165.00      6.70        $14,505.50
Littleton, Judson O.           Partner          2008         2008         $2,335.00      9.00        $21,015.00
Lloyd, Colin D.                Partner          2008         2007         $2,165.00     98.60       $213,469.00
Lloyd, Colin D.                Partner          2008         2007         $2,375.00      0.30           $712.50
Lloyd, Jameson S.              Partner          2014         2013         $1,595.00     31.50        $50,242.50
Lloyd, Jameson S.              Partner          2014         2013         $1,850.00     83.30       $154,105.00
Lloyd, Jameson S.              Partner          2014         2013         $2,160.00     32.30        $69,768.00
McArthur, Kathleen S.          Partner          2008         2007         $2,165.00    169.90       $367,833.50
McArthur, Kathleen S.          Partner          2008         2007         $2,375.00      0.80         $1,900.00
McDonald, James M.             Partner          2008         2007       $1,083.00**      4.00         $4,332.00
McDonald, James M.             Partner          2008         2007         $2,165.00    469.80     $1,017,117.00
McDonald, James M.             Partner          2008         2007         $2,375.00    110.60       $262,675.00
McGimsey, Diane L.             Partner          2004         2002         $2,165.00      0.40           $866.00
Mehta, Nirav N.                Partner          2012         2011         $1,975.00    115.20       $227,520.00
Menillo, Nicholas F.           Partner          2013         2012         $1,850.00    203.90       $377,215.00
Menillo, Nicholas F.           Partner          2013         2012         $2,030.00    262.50       $532,875.00
Menillo, Nicholas F.           Partner          2013         2012         $2,275.00     61.00       $138,775.00
Mousavi, Nader A.              Partner          1999         1997         $2,165.00      2.40         $5,196.00
Newton, Beth                   Partner          2013         2011         $2,135.00    131.70       $281,179.50
Ng, Kay Ian                    Partner          1992         1992         $2,165.00      1.00         $2,165.00
O'Neill, Rita-Anne             Partner          2004         2004         $2,165.00    372.00       $805,380.00
O'Neill, Rita-Anne             Partner          2004         2004         $2,375.00     39.10        $92,862.50
Ostrager, Ann-Elizabeth        Partner          2011         2009         $2,165.00      1.40         $3,031.00
Ostrager, Ann-Elizabeth        Partner          2011         2009         $2,375.00      0.10           $237.50
Peikin, Steven R.              Partner          1992         1991       $1,083.00**     16.00        $17,328.00
Peikin, Steven R.              Partner          1992         1991         $2,165.00    240.50       $520,682.50
Peikin, Steven R.              Partner          1992         1991         $2,375.00     23.50        $55,812.50
Perry, Ben                     Partner          1999         1999         $2,375.00      0.30           $712.50
Porpora, Matthew J.            Partner          2006         2005         $2,165.00     89.80       $194,417.00
Reeder III, Robert W.          Partner          1985         1984         $2,165.00      0.50         $1,082.50
Reeder III, Robert W.          Partner          1985         1984         $2,375.00      1.30         $3,087.50
Rein, David M.J.               Partner          1997         1997         $2,165.00      1.60         $3,464.00
Salley, Stephen M.             Partner          2010         2009         $2,165.00     19.30        $41,784.50
Schenkel, Mark                 Partner          2010         2010         $1,975.00      9.00        $17,775.00
Schlein, Robert M.             Partner          1993         1992         $2,165.00     14.90        $32,258.50
Schollmeyer, Mario             Partner          2012         2014         $1,595.00    200.60       $319,957.00
Schollmeyer, Mario             Partner          2012         2014         $1,975.00     16.40        $32,390.00
Schwartz, Matthew A.           Partner          2004         2003         $2,165.00      0.80         $1,732.00


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                                                              Year of                      Total
                                                  Year of                                               Total
    Timekeeper Name                Position                  Law School   Hourly Rate      Hours
                                                 Admission                                           Compensation
                                                             Graduation                    Billed
Shields, Kamil R.              Partner             2010         2009         $2,135.00      14.20        $30,317.00
Shields, Kamil R.              Partner             2010         2009         $2,165.00      61.50       $133,147.50
Simmons, Rebecca J.            Partner             1992         1991         $2,165.00      29.00        $62,785.00
Simmons, Rebecca J.            Partner             1992         1991         $2,375.00       1.50         $3,562.50
Simpson, Evan S.               Partner             2011         2010       $1,168.00**      30.00        $35,040.00
Simpson, Evan S.               Partner             2011         2010         $2,135.00     260.80       $556,808.00
Simpson, Evan S.               Partner             2011         2010         $2,165.00    1,079.70    $2,337,550.50
Simpson, Evan S.               Partner             2011         2010         $2,335.00     784.50     $1,831,807.50
Tamler, Zena M.                Partner             2001         2001         $2,165.00       0.30           $649.50
Tomaino Jr., Michael T.        Partner             1990         1989         $2,165.00       0.60         $1,299.00
Wall, Jeffrey B.               Partner             2006         2003         $2,165.00       4.90        $10,608.50
Wall, Jeffrey B.               Partner             2006         2003         $2,375.00       1.00         $2,375.00
Wang, S. Eric                  Partner             2002         2001         $2,375.00       0.30           $712.50
Weiner, Benjamin H.            Partner             2010         2009         $2,165.00       0.50         $1,082.50
Wertheim, Frederick            Partner             1988         1987         $2,165.00      28.40        $61,486.00
Wertheim, Frederick            Partner             1988         1987         $2,375.00       0.80         $1,900.00
Wheeler, Isaac J.              Partner             2010         2009         $2,165.00       2.70         $5,845.50
Wheeler, Isaac J.              Partner             2010         2009         $2,375.00       0.30           $712.50
Wheeler, Stephanie G.          Partner             1994         1993       $1,083.00**       5.50         $5,956.50
Wheeler, Stephanie G.          Partner             1994         1993         $2,165.00    1,881.20    $4,072,798.00
Wheeler, Stephanie G.          Partner             1994         1993         $2,375.00     879.00     $2,087,625.00
White, Thomas C.               Partner             2008         2007         $2,165.00       6.70        $14,505.50
Woodall III, Samuel R.         Partner             2001         2001         $2,165.00     110.10       $238,366.50
Woodall III, Samuel R.         Partner             2001         2001         $2,375.00       1.10         $2,612.50
Wu, Mimi                       Partner             2016         2015         $1,695.00      88.60       $150,177.00
Yu, Rachel                     Partner             2014         2014         $1,595.00       0.30           $478.50
Partner Total                                                                            41,472.90   $90,576,159.30
Buckholz, Robert E.            Of Counsel          1980        1979          $2,165.00       3.10         $6,711.50
Buckholz, Robert E.            Of Counsel          1980        1979          $2,375.00       0.80         $1,900.00
Gilberg, David J.              Of Counsel          1981        1981          $2,375.00       8.40        $19,950.00
Korb, Donald L.                Of Counsel          1973        1973          $2,165.00       0.60         $1,299.00
Leventhal, Shari D.            Of Counsel          1989        1988          $2,165.00       9.90        $21,433.50
Leventhal, Shari D.            Of Counsel          1989        1988          $2,295.00       1.10         $2,524.50
Rogers Jr., Theodore O.        Of Counsel          1980        1979          $2,165.00      36.60        $79,239.00
Rosenberg, Mark F.             Of Counsel          1981        1980          $2,165.00       0.30           $649.50
Tomaino Jr., Michael T.        Of Counsel          1990        1989          $2,165.00     476.50     $1,031,622.50
Tomaino Jr., Michael T.        Of Counsel          1990        1989          $2,375.00     335.00       $795,625.00
Williams, Hilary M.            Of Counsel          1998        1996          $2,165.00     223.90       $484,743.50
Williams, Hilary M.            Of Counsel          1998        1996          $2,295.00       2.30         $5,278.50
Beller, Benjamin S.            Special Counsel     2014        2013          $1,575.00     840.50     $1,323,787.50
Berkeley, Nick R.C.            Special Counsel     2003        2000          $1,595.00      21.00        $33,495.00
Clarke, Stephen H.             Special Counsel     2011        2010          $1,675.00     560.70       $939,172.50
Devlin, Michael P.             Special Counsel     2011        2010          $1,575.00     151.90       $239,242.50
Devlin, Michael P.             Special Counsel     2011        2010          $1,675.00       0.20           $335.00
Goldberg, Wendy M.             Special Counsel     2002        2000          $1,750.00       0.20           $350.00
Harsch, Bradley A.             Special Counsel     1998        1998          $1,790.00    1,658.50    $2,968,715.00


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                                                          Year of                       Total
                                              Year of                                                Total
   Timekeeper Name              Position                 Law School   Hourly Rate       Hours
                                             Admission                                            Compensation
                                                         Graduation                     Billed
Harsch, Bradley A.         Special Counsel     1998         1998        $1,895.00      1,392.60    $2,638,977.00
Jensen, Christian P.       Special Counsel     2016         2015        $838.00**         2.00         $1,676.00
Jensen, Christian P.       Special Counsel     2016         2015        $1,675.00       128.90       $215,907.50
Kranzley, Alexa J.         Special Counsel     2009         2008        $1,855.00       414.10       $768,155.50
Logan, Ryan P.             Special Counsel     2007         2007        $1,790.00       356.90       $638,851.00
Logan, Ryan P.             Special Counsel     2007         2007        $1,895.00        19.10        $36,194.50
Long, Sarah Remmer         Special Counsel     2015         2014        $1,575.00        18.60        $29,295.00
Long, Sarah Remmer         Special Counsel     2015         2014        $1,860.00         2.10         $3,906.00
Mehta, Nirav N.            Special Counsel     2012         2011        $1,825.00       178.10       $325,032.50
O'Reilly, Brian P.         Special Counsel     2003         2002        $1,750.00       140.80       $246,400.00
O'Reilly, Brian P.         Special Counsel     2003         2002        $1,860.00         4.20         $7,812.00
Orr, Justin R.             Special Counsel     2014         2014        $1,575.00        43.60        $68,670.00
Popovsky, Mark A.          Special Counsel     2012         2011        $1,575.00        60.40        $95,130.00
Popovsky, Mark A.          Special Counsel     2012         2011        $1,675.00       127.10       $212,892.50
Queen, Eric H.             Special Counsel     1977         1976        $1,790.00         2.10         $3,759.00
Queen, Eric H.             Special Counsel     1977         1976        $1,860.00         0.30           $558.00
Russell, Tracey E.         Special Counsel     2002         2001        $1,750.00         2.10         $3,675.00
Russell, Tracey E.         Special Counsel     2002         2001        $1,860.00         1.70         $3,162.00
Sedlak, Jonathan M.        Special Counsel     2005         2004        $1,575.00       301.60       $475,020.00
Sedlak, Jonathan M.        Special Counsel     2005         2004        $1,675.00       484.50       $811,537.50
Smith, Bradley P.          Special Counsel     1998         1997        $1,790.00         4.10         $7,339.00
Smith, Bradley P.          Special Counsel     1998         1997        $1,895.00         0.20           $379.00
Su, Lester                 Special Counsel     2010         2010        $1,595.00       142.50       $227,287.50
Sutton, Jennifer L.        Special Counsel     2004         2004        $1,790.00       339.70       $608,063.00
Sutton, Jennifer L.        Special Counsel     2004         2004        $1,895.00        62.60       $118,627.00
Wagener, William H.        Special Counsel     2004         2003        $1,575.00       506.20       $797,265.00
Wagener, William H.        Special Counsel     2004         2003        $1,675.00       146.80       $245,890.00
Yeargan, Shane R.          Special Counsel     2014         2013        $1,575.00       458.60       $722,295.00
Yeargan, Shane R.          Special Counsel     2014         2013        $1,675.00        90.90       $152,257.50
Of Counsel + Special Counsel Total                                                     9,763.90   $17,422,088.00
                           Practice Area
Benton, Simone A.          Associate           2001        2008          $1,390.00      47.40        $65,886.00
                           Practice Area
Benton, Simone A.          Associate           2001        2008          $1,475.00      1.00           $1,475.00
                           Practice Area
Carrier, Rita M.           Associate           1984        1984          $1,365.00     134.30       $183,319.50
                           Practice Area
Carrier, Rita M.           Associate           1984        1984          $1,450.00     135.50       $196,475.00
                           Practice Area
DeMarco, Raffaele A.       Associate           2003        2002          $1,000.00      10.90        $10,900.00
                           Practice Area
Jeapes, Esther S.          Associate           1995        1995          $1,390.00      5.70           $7,923.00
Mendola-D'Andrea,          Practice Area
Lisabeth A.                Associate           2006        2005              $810.00    23.50        $19,035.00
Mendola-D'Andrea,          Practice Area
Lisabeth A.                Associate           2006        2005              $860.00    1.80           $1,548.00


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                                                             Year of                      Total
                                                Year of                                               Total
   Timekeeper Name                 Position                 Law School   Hourly Rate      Hours
                                               Admission                                           Compensation
                                                            Graduation                    Billed
                               Practice Area
Xiang, Shihui                  Associate         2020         2019              $810.00   131.10     $106,191.00
                               Practice Area
Xiang, Shihui                  Associate          2020        2019           $860.00      167.30      $143,878.00
Abada, Danielle B.             Associate          2018        2017         $1,395.00       12.30       $17,158.50
Abada, Danielle B.             Associate          2018        2017         $1,530.00        0.60          $918.00
Andrews, Eric T.               Associate          2018        2019         $1,310.00      222.90      $291,999.00
Andrews, Eric T.               Associate          2018        2019         $1,365.00       25.30       $34,534.50
Andrews, Eric T.               Associate          2018        2019         $1,450.00        1.50        $2,175.00
Anfang, Michael A.             Associate          2024        2023           $775.00       86.80       $67,270.00
Anfang, Michael A.             Associate          2024        2023           $850.00      240.00      $204,000.00
Baker, Nicholas R.             Associate          2019        2018         $1,490.00        0.70        $1,043.00
Barker, Zachary R.             Associate          2021        2020         $1,395.00       12.40       $17,298.00
Barker, Zachary R.             Associate          2021        2020         $1,450.00       12.90       $18,705.00
Barnes, Grier E.               Associate          2022        2022         $480.00**        4.10        $1,968.00
Barnes, Grier E.               Associate          2022        2022           $960.00      473.80      $454,848.00
Barnes, Grier E.               Associate          2022        2022         $1,205.00      111.30      $134,116.50
Barnes, Grier E.               Associate          2022        2022         $1,295.00       51.00       $66,045.00
Bauer, Phinneas G.             Associate          2024        2023           $775.00      325.20      $252,030.00
Bauer, Phinneas G.             Associate          2024        2023           $850.00      386.80      $328,780.00
Bauer, Phinneas G.             Associate          2024        2023           $995.00       10.90       $10,845.50
Bekker, William V.             Associate          2020        2019         $1,310.00       17.90       $23,449.00
Bekker, William V.             Associate          2020        2019         $1,450.00       25.00       $36,250.00
Beller, Benjamin S.            Associate          2014        2013         $1,475.00       56.40       $83,190.00
Bennett, Mark C.               Associate          2018        2017           $765.00        2.90        $2,218.50
Bennett, Mark C.               Associate          2018        2017         $1,395.00      950.20    $1,325,529.00
Bennett, Mark C.               Associate          2018        2017         $1,440.00      414.20      $596,448.00
Bennett, Mark C.               Associate          2018        2017         $1,530.00      986.80    $1,509,804.00
Bennett, Mark C.               Associate          2018        2017         $1,575.00       35.40       $55,755.00
Benzine, Jasmine M.            Associate          2022        2021         $1,205.00        0.20          $241.00
Benzine, Jasmine M.            Associate          2022        2021         $1,295.00        0.20          $259.00
Bharanidaran, Rupan K.         Associate       in process     2024           $850.00      105.60       $89,760.00
Bierlein, Johanna Ruth         Associate          2024        2023           $850.00      189.30      $160,905.00
Blaisdell, Jackson T.          Associate          2023        2023         $498.00**        5.90        $2,938.20
Blaisdell, Jackson T.          Associate          2023        2023           $775.00      283.60      $219,790.00
Blaisdell, Jackson T.          Associate          2023        2023           $850.00      607.70      $516,545.00
Blaisdell, Jackson T.          Associate          2023        2023           $995.00       26.90       $26,765.50
Bortner, Dolan D.              Associate       in process     2022           $775.00       56.90       $44,097.50
Brod, Andrew B.                Associate          2023        2022           $775.00      456.40      $353,710.00
Brod, Andrew B.                Associate          2023        2022           $960.00      117.80      $113,088.00
Brod, Andrew B.                Associate          2023        2022           $995.00      462.50      $460,187.50
Bryans, Hannah L.              Associate          2020        2019         $1,310.00      180.70      $236,717.00
Campbell, Craig A.             Associate          2023        2023           $850.00      107.30       $91,205.00
Capogna, Alexander H.          Associate          2021        2020         $1,205.00       27.10       $32,655.50
Capogna, Alexander H.          Associate          2021        2020         $1,310.00       25.50       $33,405.00
Capogna, Alexander H.          Associate          2021        2020         $1,395.00        3.30        $4,603.50


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                                                            Year of                    Total
                                               Year of                                              Total
   Timekeeper Name                 Position                Law School   Hourly Rate    Hours
                                              Admission                                          Compensation
                                                           Graduation                  Billed
Charnell, Peter C.             Associate         2021         2021        $1,295.00     45.40        $58,793.00
Chen, Kelly                    Associate         2024          202          $775.00     34.20        $26,505.00
Chen, Kelly                    Associate         2024         2023          $850.00      1.30         $1,105.00
Chen, Linda Yao                Associate         2021         2020        $1,205.00    371.10       $447,175.50
Choi, Hester                   Associate         2023         2022          $775.00      2.20         $1,705.00
Ciafone, Jacob W.              Associate         2024         2023          $775.00    526.10       $407,727.50
Ciafone, Jacob W.              Associate         2024         2023          $850.00    759.10       $645,235.00
Ciafone, Jacob W.              Associate         2024         2023          $995.00     19.30        $19,203.50
Cockle, Hannah                 Associate         2021         2021          $960.00     14.80        $14,208.00
Cockle, Hannah                 Associate         2021         2021        $1,205.00     16.60        $20,003.00
Cockle, Hannah                 Associate         2021         2021        $1,295.00      1.00         $1,295.00
Cohen, Connor S.               Associate      in process      2022          $775.00     41.70        $32,317.50
Cohen, Jordan M.               Associate      in process      2024          $850.00     44.80        $38,080.00
Costello, Dermot P.            Associate         2020         2020        $1,205.00     21.50        $25,907.50
Courroy, Arthur D.             Associate         2023         2022          $775.00    354.00       $274,350.00
Courroy, Arthur D.             Associate         2023         2022          $960.00     76.00        $72,960.00
Courroy, Arthur D.             Associate         2023         2022          $995.00    333.40       $331,733.00
Courroy, Arthur D.             Associate         2023         2022        $1,295.00     12.30        $15,928.50
Cyr, Marc-André O.             Associate         2012         2015        $1,475.00    132.00       $194,700.00
Darby, Samuel G.               Associate         2018         2017        $1,530.00    313.00       $478,890.00
Darby, Samuel G.               Associate         2018         2017        $1,575.00     24.50        $38,587.50
Dato, Tyler M.                 Associate         2016         2015        $1,575.00      4.30         $6,772.50
De Vries, Saskia E.L.          Associate         2024         2023          $775.00    514.50       $398,737.50
De Vries, Saskia E.L.          Associate         2024         2023          $850.00    325.40       $276,590.00
De Vries, Saskia E.L.          Associate         2024         2023          $995.00     18.10        $18,009.50
Dokurno, Neil A.               Associate      in process      2024          $850.00     13.40        $11,390.00
Donnelly, Kathleen T.          Associate         2019         2018        $1,365.00   1,386.10    $1,892,026.50
Donnelly, Kathleen T.          Associate         2019         2018        $1,395.00    183.30       $255,703.50
Donnelly, Kathleen T.          Associate         2019         2018        $1,490.00    227.10       $338,379.00
Downing, Emma C.               Associate         2023         2022          $775.00   1,307.40    $1,013,235.00
Doyle, Charles T.              Associate         2023         2023          $775.00      0.20           $155.00
Ellis, Samuel B.               Associate         2024         2023          $850.00     70.90        $60,265.00
Ellis, Samuel B.               Associate         2024         2023          $995.00      0.60           $597.00
Enriquez-Sarano, Louis         Associate         2022         2021        $1,205.00    123.70       $149,058.50
Enriquez-Sarano, Louis         Associate         2022         2021        $1,295.00    372.00       $481,740.00
Erdogan, Batuhan               Associate      in process      2023          $775.00    205.60       $159,340.00
Erdogan, Batuhan               Associate      in process      2023          $850.00      0.70           $595.00
Eze, Ugonna                    Associate         2022         2021          $960.00    392.60       $376,896.00
Ferdinandi, Federico           Associate         2021         2019        $1,310.00    109.00       $142,790.00
Ferdinandi, Federico           Associate         2021         2019        $1,365.00     36.20        $49,413.00
Ferdinandi, Federico           Associate         2021         2019        $1,450.00    479.70       $695,565.00
Ferdinandi, Federico           Associate         2021         2019        $1,490.00     20.70        $30,843.00
Fevrier, Adam                  Associate         2024         2022          $995.00      1.50         $1,492.50
Fineberg, Sam J.               Associate      in process      2024          $850.00      9.00         $7,650.00
Flegenheimer, Zoeth M.         Associate         2019         2018        $683.00**      3.90         $2,663.70
Flegenheimer, Zoeth M.         Associate         2019         2018          $745.00      1.40         $1,043.00


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                                                             Year of                    Total
                                                Year of                                              Total
    Timekeeper Name                 Position                Law School   Hourly Rate    Hours
                                               Admission                                          Compensation
                                                            Graduation                  Billed
Flegenheimer, Zoeth M.          Associate         2019         2018        $1,365.00   1,775.10    $2,423,011.50
Flegenheimer, Zoeth M.          Associate         2019         2018        $1,395.00    240.20       $335,079.00
Flegenheimer, Zoeth M.          Associate         2019         2018        $1,490.00    516.40       $769,436.00
Foote, Isaac S.                 Associate         2023         2022        $498.00**      7.10         $3,535.80
Foote, Isaac S.                 Associate         2023         2022          $648.00      2.00         $1,296.00
Foote, Isaac S.                 Associate         2023         2022          $775.00    535.30       $414,857.50
Foote, Isaac S.                 Associate         2023         2022          $960.00     22.50        $21,600.00
Foote, Isaac S.                 Associate         2023         2022          $995.00    657.00       $653,715.00
Foote, Isaac S.                 Associate         2023         2022        $1,295.00     20.70        $26,806.50
Fradin, Daniel E.               Associate         2023         2022          $775.00     50.90        $39,447.50
Fradin, Daniel E.               Associate         2023         2022          $960.00    140.90       $135,264.00
Fradin, Daniel E.               Associate         2023         2022          $995.00    108.10       $107,559.50
Friedman, Mitchell N.           Associate         2019         2018        $683.00**      2.00         $1,366.00
Friedman, Mitchell N.           Associate         2019         2018        $1,365.00    679.00       $926,835.00
Friedman, Mitchell N.           Associate         2019         2018        $1,395.00    313.30       $437,053.50
Friedman, Mitchell N.           Associate         2019         2018        $1,490.00      6.90        $10,281.00
Fulton, Sean P.                 Associate         2016         2016        $720.00**      5.20         $3,744.00
Fulton, Sean P.                 Associate         2016         2016        $738.00**      7.50         $5,535.00
Fulton, Sean P.                 Associate         2016         2016        $1,440.00    945.60     $1,361,664.00
Fulton, Sean P.                 Associate         2016         2016        $1,475.00    216.50       $319,337.50
Fulton, Sean P.                 Associate         2016         2016        $1,575.00    139.70       $220,027.50
Gallant, Jason W.               Associate         2022         2021          $960.00    425.80       $408,768.00
Gambino, Dominick T.            Associate         2023         2022          $775.00    343.90       $266,522.50
Gambino, Dominick T.            Associate         2023         2022          $960.00      1.30         $1,248.00
Garrido Vallespí, Sergio        Associate         2023         2024          $850.00     17.10        $14,535.00
Gautam, Ashray                  Associate         2023         2022          $775.00     25.90        $20,072.50
Goldman, Jessica H.             Associate         2020         2019        $1,310.00    222.70       $291,737.00
Goldman, Jessica H.             Associate         2020         2019        $1,365.00    277.80       $379,197.00
Goldman, Jessica H.             Associate         2020         2019        $1,450.00     84.40       $122,380.00
Gould, D. Wil                   Associate         2020         2020        $1,205.00      8.00         $9,640.00
Greene, Brett M.                Associate         2024         2023          $775.00     34.40        $26,660.00
Greene, Brett M.                Associate         2024         2023          $850.00     46.50        $39,525.00
Grimm, Manon P.                 Associate         2018         2019        $1,365.00      1.00         $1,365.00
Haase, Michael A.               Associate         2021         2017        $1,395.00    225.50       $314,572.50
Haase, Michael A.               Associate         2021         2017        $1,440.00     22.00        $31,680.00
Haase, Michael A.               Associate         2021         2017        $1,530.00     25.30        $38,709.00
Han, Yaqi                       Associate         2020         2019        $1,310.00    127.70       $167,287.00
Han, Yaqi                       Associate         2020         2019        $1,365.00    635.20       $867,048.00
Han, Yaqi                       Associate         2020         2019        $1,450.00      1.90         $2,755.00
Handelsman, Dylan M.            Associate         2019         2018        $683.00**      6.00         $4,098.00
Handelsman, Dylan M.            Associate         2019         2018        $1,365.00    595.30       $812,584.50
Handelsman, Dylan M.            Associate         2019         2018        $1,395.00    107.90       $150,520.50
Handelsman, Dylan M.            Associate         2019         2018        $1,490.00    134.60       $200,554.00
Hardin, Joshua J.               Associate         2023         2022          $775.00     79.60        $61,690.00
Harrison, Amanda G.             Associate      in process      2024          $850.00     85.50        $72,675.00
Hearn, Zachary W.M.             Associate         2021         2020        $603.00**      2.90         $1,748.70


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                                                            Year of                     Total
                                               Year of                                               Total
   Timekeeper Name                 Position                Law School   Hourly Rate     Hours
                                              Admission                                           Compensation
                                                           Graduation                   Billed
Hearn, Zachary W.M.            Associate         2021         2020         $1,205.00    192.00       $231,360.00
Hearn, Zachary W.M.            Associate         2021         2020         $1,310.00     45.30        $59,343.00
Hearn, Zachary W.M.            Associate         2021         2020         $1,395.00     15.10        $21,064.50
Hill, Tyler W.                 Associate         2017         2016         $1,440.00    331.00       $476,640.00
Hill, Tyler W.                 Associate         2017         2016         $1,475.00    104.90       $154,727.50
Hill, Tyler W.                 Associate         2017         2016         $1,575.00    288.00       $453,600.00
Hills, Natalie A.              Associate         2023         2022           $775.00    726.20       $562,805.00
Hirshman, Jacob E.             Associate      in process      2022           $775.00     40.10        $31,077.50
Hisarli, M. Devin              Associate         2023         2022           $775.00    548.80       $425,320.00
Hisarli, M. Devin              Associate         2023         2022           $960.00     21.50        $20,640.00
Hisarli, M. Devin              Associate         2023         2022           $995.00      0.50           $497.50
Hodges, Christian T.           Associate         2023         2022         $388.00**      5.70         $2,211.60
Hodges, Christian T.           Associate         2023         2022           $775.00    956.10       $740,977.50
Hodges, Christian T.           Associate         2023         2022           $960.00    455.00       $436,800.00
Hodges, Christian T.           Associate         2023         2022           $995.00      3.10         $3,084.50
Holland, Alexander S.          Associate         2021         2020         $1,205.00   1,222.10    $1,472,630.50
Holland, Alexander S.          Associate         2021         2020         $1,310.00    295.20       $386,712.00
Holland, Alexander S.          Associate         2021          200         $1,395.00    384.70       $536,656.50
Hoover, Ruth H.                Associate         2022         2022           $995.00    452.10       $449,839.50
Hoover, Ruth H.                Associate         2022         2022         $1,295.00     17.40        $22,533.00
House, Margaret S.             Associate         2022         2022           $775.00    202.50       $156,937.50
Ingber, Zachary R.             Associate         2020         2019         $1,310.00    101.00       $132,310.00
Jang, James                    Associate         2023         2022           $995.00      0.10            $99.50
Jensen, Christian P.           Associate         2016         2015         $1,475.00    524.90       $774,227.50
Kapoor, Julie G.               Associate         2018         2017         $698.00**     23.60        $16,472.80
Kapoor, Julie G.               Associate         2018         2017           $765.00     23.30        $17,824.50
Kapoor, Julie G.               Associate         2018         2017         $1,395.00    932.30     $1,300,558.50
Kapoor, Julie G.               Associate         2018         2017         $1,440.00    173.60       $249,984.00
Kapoor, Julie G.               Associate         2018         2017         $1,530.00    427.00       $653,310.00
Kateman, Hana K.               Associate         2023         2022           $775.00      8.90         $6,897.50
Kaufman, Andrew M.             Associate         2017         2016         $1,440.00     45.00        $64,800.00
Kaufman, Andrew M.             Associate         2017         2016         $1,475.00      1.20         $1,770.00
Kaufman, Andrew M.             Associate         2017         2016         $1,575.00      0.80         $1,260.00
Keeley, Julian M.              Associate         2023         2022           $775.00    113.40        $87,885.00
Keeley, Julian M.              Associate         2023         2022           $960.00     17.80        $17,088.00
Keeley, Julian M.              Associate         2023         2022           $995.00     47.50        $47,262.50
Kerin, Meaghan Chas            Associate         2019         2018         $1,365.00    958.50     $1,308,352.50
Kerin, Meaghan Chas            Associate         2019         2018         $1,395.00     80.10       $111,739.50
Kerin, Meaghan Chas            Associate         2019         2018         $1,490.00     34.90        $52,001.00
Kerin, Meaghan Chas            Associate         2019         2018         $1,530.00      0.20           $306.00
Kewlani, Kanishka              Associate         2024         2023           $775.00    473.60       $367,040.00
Kewlani, Kanishka              Associate         2024         2023           $850.00    904.50       $768,825.00
Kewlani, Kanishka              Associate         2024         2023           $995.00     18.70        $18,606.50
Kilborn, Georgina M.           Associate         2020         2020         $1,205.00    274.90       $331,254.50
Kim, HyunKyu                   Associate         2022         2020         $1,205.00    399.40       $481,277.00
Kim, HyunKyu                   Associate         2022         2020         $1,310.00    252.10       $330,251.00


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                                                Year of                                               Total
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                                               Admission                                           Compensation
                                                            Graduation                   Billed
Kim, HyunKyu                    Associate         2022         2020         $1,395.00    588.20      $820,539.00
Kim, HyunKyu                    Associate         2022         2020         $1,450.00      2.20        $3,190.00
Kober, Max J.                   Associate         2022         2021           $960.00     26.20       $25,152.00
Kyle, J. Carrington             Associate         2023         2023           $775.00     33.50       $25,962.50
Kyle, J. Carrington             Associate         2023         2023           $850.00      6.20        $5,270.00
Lavallée, Arnaud                Associate      in process      2023           $775.00      0.50          $387.50
Lavin, Phoebe A.                Associate         2023         2022           $775.00   1,192.90     $924,497.50
Lavin, Phoebe A.                Associate         2023         2022           $960.00    363.20      $348,672.00
Lavin, Phoebe A.                Associate         2023         2022           $995.00    807.20      $803,164.00
Lavin, Phoebe A.                Associate         2023         2022         $1,295.00     15.00       $19,425.00
Lee, Jinny                      Associate         2023         2022           $775.00    336.30      $260,632.50
Lee, Jinny                      Associate         2023         2022           $960.00     42.70       $40,992.00
Lee, Jinny                      Associate         2023         2022           $995.00    138.70      $138,006.50
Lee, Jinny                      Associate         2023         2022         $1,295.00      0.20          $259.00
Lee, Joyce Y.                   Associate         2021         2020         $1,395.00      2.50        $3,487.50
Lee, Patrick D.                 Associate         2023         2022           $775.00    392.70      $304,342.50
Lee, Patrick D.                 Associate         2023         2022           $960.00     30.50       $29,280.00
Lee, Patrick D.                 Associate         2023         2022           $995.00     25.00       $24,875.00
Lestelin, Jasmin E. J.          Associate         2021         2021           $960.00      1.00          $960.00
Levin, Elizabeth D.             Associate         2021         2020         $1,205.00    120.90      $145,684.50
Levin, Elizabeth D.             Associate         2021         2020         $1,310.00     65.70       $86,067.00
Levin, Elizabeth D.             Associate         2021         2020         $1,395.00     13.60       $18,972.00
Levin, Lana V.                  Associate         2023         2022           $775.00     87.00       $67,425.00
Levin, Lana V.                  Associate         2023         2022           $960.00     11.10       $10,656.00
Levin, Lana V.                  Associate         2023         2022           $995.00      4.20        $4,179.00
Levine, Aaron M.                Associate         2018         2017         $1,395.00    310.40      $433,008.00
Levine, Aaron M.                Associate         2018         2017         $1,440.00    301.20      $433,728.00
Levine, Aaron M.                Associate         2018         2017         $1,530.00    396.80      $607,104.00
Levine, Aaron M.                Associate         2018         2017         $1,575.00      0.50          $787.50
Li, Alexandra                   Associate         2023         2023           $775.00    371.90      $288,222.50
Li, Alexandra                   Associate         2023         2023           $850.00    564.50      $479,825.00
Li, Alexandra                   Associate         2023         2023           $995.00     17.90       $17,810.50
Li, Samantha                    Associate         2022         2021           $960.00     15.80       $15,168.00
Li, Samantha                    Associate         2022         2021         $1,205.00      9.40       $11,327.00
Li, Samantha                    Associate         2022         2021         $1,295.00     32.90       $42,605.50
Li, Samantha                    Associate         2022         2021         $1,395.00      0.30          $418.50
Lim, KJ                         Associate         2019         2018         $1,365.00     82.80      $113,022.00
Lim, KJ                         Associate         2019         2018         $1,395.00    138.90      $193,765.50
Lim, KJ                         Associate         2019         2018         $1,490.00     29.60       $44,104.00
Liu, Sienna                     Associate         2021         2020         $1,205.00    376.40      $453,562.00
Liu, Sienna                     Associate         2021         2020         $1,310.00     42.40       $55,544.00
Liu, Sienna                     Associate         2021         2020         $1,395.00    169.60      $236,592.00
Liu, Sienna                     Associate         2021         2020         $1,450.00      5.50        $7,975.00
Ljustina, Jessica               Associate         2022         2021           $960.00    913.40      $876,864.00
Ljustina, Jessica               Associate         2022         2021         $1,205.00      8.10        $9,760.50
Ljustina, Jessica               Associate         2022         2021         $1,295.00      1.50        $1,942.50


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                                                            Year of                     Total
                                               Year of                                               Total
   Timekeeper Name                 Position                Law School   Hourly Rate     Hours
                                              Admission                                           Compensation
                                                           Graduation                   Billed
Loh, Esther L.S.               Associate         2023         2022           $775.00    212.70       $164,842.50
Loh, Esther L.S.               Associate         2023         2022           $960.00      1.40         $1,344.00
Loh, Esther L.S.               Associate         2023         2022           $995.00      6.10         $6,069.50
Long, Sarah Remmer             Associate         2015         2014         $1,475.00      1.90         $2,802.50
Lu, Robert C.                  Associate         2023         2022           $775.00     18.80        $14,570.00
Lu, Robert C.                  Associate         2023         2022           $960.00     12.60        $12,096.00
Luu, Nam T.                    Associate         2022         2023           $775.00    389.60       $301,940.00
MacDonald, Jeffrey W.          Associate         2018         2017         $1,395.00   1,458.30    $2,034,328.50
MacDonald, Jeffrey W.          Associate         2018         2017         $1,440.00    147.10       $211,824.00
MacDonald, Jeffrey W.          Associate         2018         2017         $1,530.00    686.60     $1,050,498.00
MacDonald, Jeffrey W.          Associate         2018         2017         $1,575.00      0.70         $1,102.50
Mandel, Robert H.              Associate         2024         2023           $775.00     24.40        $18,910.00
Mandel, Robert H.              Associate         2024         2023           $850.00    188.80       $160,480.00
Mandel, Robert H.              Associate         2024         2023           $995.00     11.40        $11,343.00
Marchello, Matthew J.          Associate         2021         2021         $1,295.00     37.70        $48,821.50
Mark, Colin A.                 Associate      in process      2022         $388.00**      2.10           $814.80
Mark, Colin A.                 Associate      in process      2022           $775.00    216.50       $167,787.50
Masoudi, Yasmin                Associate         2023         2022           $775.00     76.70        $59,442.50
Masoudi, Yasmin                Associate         2023         2022           $960.00     79.40        $76,224.00
Masoudi, Yasmin                Associate         2023         2022           $995.00     17.60        $17,512.00
Masters, Hannah L.             Associate         2022         2021           $960.00    136.90       $131,424.00
Materni, Michele C.            Associate         2017         2016           $720.00      1.20           $864.00
Materni, Michele C.            Associate         2017         2016         $1,440.00   1,371.10    $1,974,384.00
Materni, Michele C.            Associate         2017         2016         $1,475.00    217.10       $320,222.50
Materni, Michele C.            Associate         2017         2016         $1,575.00    113.20       $178,290.00
Mayberry, Keila M.             Associate         2023         2022           $775.00   1,505.30    $1,166,607.50
Mayberry, Keila M.             Associate         2023         2022           $960.00    424.10       $407,136.00
Mayberry, Keila M.             Associate         2023         2022           $995.00   1,083.70    $1,078,281.50
Mayberry, Keila M.             Associate         2023         2022         $1,295.00     52.50        $67,987.50
Mazumdar, Aneesa               Associate         2023         2022           $775.00    961.60       $745,240.00
Mazumdar, Aneesa               Associate         2023         2022           $960.00    429.40       $412,224.00
Mazumdar, Aneesa               Associate         2023         2022           $995.00    873.00       $868,635.00
Mazumdar, Aneesa               Associate         2023         2022         $1,295.00     35.00        $45,325.00
Mazzarelli, Samantha M.        Associate         2024         2023           $775.00    570.00       $441,750.00
Mazzarelli, Samantha M.        Associate         2024         2023           $850.00    353.90       $300,815.00
McCrystal, John P.             Associate         2024         2024           $850.00      9.10         $7,735.00
McEvoy, Ryan C.                Associate         2022         2021           $960.00      1.90         $1,824.00
McEvoy, Ryan C.                Associate         2022         2021         $1,205.00      0.60           $723.00
McLaughlin, Catherine R.       Associate         2020         2020         $1,310.00     43.30        $56,723.00
McLaughlin, Catherine R.       Associate         2020         2020         $1,395.00     12.90        $17,995.50
Mehta, Suniti N.               Associate         2014         2013         $1,475.00     35.30        $52,067.50
Merriam, William J.            Associate         2024         2023           $850.00    154.40       $131,240.00
Middleditch, Hattie R.         Associate         2014         2017         $1,395.00    197.90       $276,070.50
Middleditch, Hattie R.         Associate         2014         2017         $1,440.00     62.70        $90,288.00
Middleditch, Hattie R.         Associate         2014         2017         $1,530.00    184.50       $282,285.00
Middleditch, Hattie R.         Associate         2014         2017         $1,575.00      2.00         $3,150.00


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                                                           Year of                     Total
                                              Year of                                               Total
   Timekeeper Name                Position                Law School   Hourly Rate     Hours
                                             Admission                                           Compensation
                                                          Graduation                   Billed
Miller, Nicole A.             Associate         2023         2022           $775.00    135.00       $104,625.00
Miller, Nicole A.             Associate         2023         2022           $960.00     32.90        $31,584.00
Miller, Nicole A.             Associate         2023         2022           $995.00     61.30        $60,993.50
Millet, Tatum E.              Associate         2023         2022         $498.00**     12.00         $5,976.00
Millet, Tatum E.              Associate         2023         2022           $775.00   1,019.00      $789,725.00
Millet, Tatum E.              Associate         2023         2022           $960.00    244.10       $234,336.00
Millet, Tatum E.              Associate         2023         2022           $995.00    435.70       $433,521.50
Millet, Tatum E.              Associate         2023         2022         $1,295.00     37.40        $48,433.00
Minore, Alexander L.          Associate         2019         2019         $1,365.00      1.60         $2,184.00
Mishkin, Sarah H.             Associate         2019         2018         $1,365.00    193.60       $264,264.00
Mishkin, Sarah H.             Associate         2019         2018         $1,395.00      3.30         $4,603.50
Mishkin, Sarah H.             Associate         2019         2018         $1,490.00      3.50         $5,215.00
Necula, Gabriela              Associate         2023         2023           $775.00      1.10           $852.50
Ninivaggi, Jane V.            Associate         2024         2023           $775.00    321.60       $249,240.00
O'Hara, Daniel P.             Associate         2021         2020         $698.00**      4.50         $3,141.00
O'Hara, Daniel P.             Associate         2021         2020         $1,205.00   1,680.30    $2,024,761.50
O'Hara, Daniel P.             Associate         2021         2020         $1,310.00    406.20       $532,122.00
O'Hara, Daniel P.             Associate         2021         2020         $1,395.00   1,080.50    $1,507,297.50
O'Hara, Daniel P.             Associate         2021         2020         $1,450.00     44.40        $64,380.00
Ong, Mevelyn S.               Associate         2012         2015         $1,475.00    176.90       $260,927.50
Opris, Gabriel                Associate         2019         2019         $1,310.00     57.80        $75,718.00
Opris, Gabriel                Associate         2019         2019         $1,365.00      6.40         $8,736.00
Opris, Gabriel                Associate         2019         2019         $1,450.00      0.70         $1,015.00
Orr, Justin R.                Associate         2014         2014         $1,475.00     31.90        $47,052.50
Pacia, Gabrielle N.           Associate         2021         2021         $1,205.00    254.60       $306,793.00
Pacia, Gabrielle N.           Associate         2021         2021         $1,310.00     10.90        $14,279.00
Pacia, Gabrielle N.           Associate         2021         2021         $1,395.00     11.30        $15,763.50
Pan, Yinran                   Associate         2022         2021         $1,205.00     30.40        $36,632.00
Pan, Yinran                   Associate         2022         2021         $1,295.00      4.40         $5,698.00
Paranyuk, Julia E.            Associate         2023         2021           $960.00    301.30       $289,248.00
Paranyuk, Julia E.            Associate         2023         2021         $1,205.00     65.60        $79,048.00
Paranyuk, Julia E.            Associate         2023         2021         $1,295.00     44.20        $57,239.00
Paranyuk, Julia E.            Associate         2023         2021         $1,395.00      0.20           $279.00
Parker, Davis R.              Associate      in process      2024           $850.00     27.70        $23,545.00
Patton, James A.              Associate         2022         2021           $960.00    115.20       $110,592.00
Patton, James A.              Associate         2022         2021         $1,205.00     95.50       $115,077.50
Patton, James A.              Associate         2022         2021         $1,295.00    136.20       $176,379.00
Pe, Jessica L.                Associate         2023         2023           $850.00     13.20        $11,220.00
Pester, Rachel J.             Associate         2023         2022           $775.00     54.80        $42,470.00
Piazza, Walter                Associate         2015         2019         $1,310.00    111.70       $146,327.00
Plamondon, Marie-Ève          Associate         2020         2019         $1,310.00    139.20       $182,352.00
Plamondon, Marie-Ève          Associate         2020         2019         $1,365.00      2.70         $3,685.50
Plamondon, Marie-Ève          Associate         2020         2019         $1,450.00      6.10         $8,845.00
Polanun, Jean                 Associate         2024         2023           $775.00    126.50        $98,037.50
Polanun, Jean                 Associate         2024         2023           $850.00    198.70       $168,895.00
Polanun, Jean                 Associate         2024         2023           $995.00      1.90         $1,890.50


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                                                            Year of                     Total
                                               Year of                                               Total
    Timekeeper Name                Position                Law School   Hourly Rate     Hours
                                              Admission                                           Compensation
                                                           Graduation                   Billed
Pompliano, Elizabeth S.        Associate         2017         2017         $1,395.00      9.70        $13,531.50
Profeta, Stephen J.            Associate         2022         2021           $960.00     17.40        $16,704.00
Profeta, Stephen J.            Associate         2022         2021         $1,205.00     23.70        $28,558.50
Profeta, Stephen J.            Associate         2022         2021         $1,295.00     15.10        $19,554.50
Raphael, Julia N.              Associate      in process      2024           $850.00      6.90         $5,865.00
Rogosch, Katharina             Associate      in process      2022           $775.00     47.10        $36,502.50
Rolnick, Rachel                Associate         2020         2019         $1,450.00     13.80        $20,010.00
Rolnick, Rachel                Associate         2020         2019         $1,490.00      3.60         $5,364.00
Ronan, J. Patrick              Associate         2024         2023           $775.00     18.20        $14,105.00
Rosenfeld, Jared H.            Associate         2019         2018         $683.00**      1.20           $819.60
Rosenfeld, Jared H.            Associate         2019         2018         $1,365.00   1,469.90    $2,006,413.50
Rosenfeld, Jared H.            Associate         2019         2018         $1,395.00    551.60       $769,482.00
Rosenfeld, Jared H.            Associate         2019         2018         $1,490.00    376.30       $560,687.00
Rosenthal, David M.            Associate         2019         2018         $1,490.00     13.50        $20,115.00
Rosenthal, David M.            Associate         2019         2018         $1,530.00      0.30           $459.00
Rosenthal, Samantha B.         Associate         2022         2020         $1,205.00   1,367.90    $1,648,319.50
Rosenthal, Samantha B.         Associate         2022         2020         $1,310.00    156.90       $205,539.00
Rosenthal, Samantha B.         Associate         2022         2020         $1,395.00    105.60       $147,312.00
Rosenthal, Samantha B.         Associate         2022         2020         $1,450.00      0.70         $1,015.00
Ross, Luke W.                  Associate         2023         2022           $775.00   1,043.00      $808,325.00
Ross, Luke W.                  Associate         2023         2022           $960.00    232.10       $222,816.00
Ross, Luke W.                  Associate         2023         2022           $995.00    799.70       $795,701.50
Ross, Luke W.                  Associate         2023         2022         $1,295.00     32.20        $41,699.00
Rossino, Charles J.            Associate      in process      2024           $850.00    107.80        $91,630.00
Roze, Ekaterina                Associate         2018         2017         $1,530.00      0.60           $918.00
Ruan, Ting                     Associate         2023         2022           $775.00    271.50       $210,412.50
Ruan, Ting                     Associate         2023         2022           $960.00     26.10        $25,056.00
Ruan, Ting                     Associate         2023         2022           $995.00    218.70       $217,606.50
Ruan, Ting                     Associate         2023         2022         $1,295.00      5.80         $7,511.00
Rust, Maximilian W.G.          Associate         2023         2022           $960.00     19.40        $18,624.00
Rust, Maximilian W.G.          Associate         2023         2022           $995.00     60.70        $60,396.50
Sadat, Medina M.               Associate         2021         2020         $1,205.00    378.80       $456,454.00
Sadat, Medina M.               Associate         2021         2020         $1,310.00     14.50        $18,995.00
Sadat, Medina M.               Associate         2021         2020         $1,395.00     48.60        $67,797.00
Saevitzon, Jamie G.            Associate         2024         2023           $850.00    711.20       $604,520.00
Saevitzon, Jamie G.            Associate         2024         2023           $995.00      0.50           $497.50
Saravalle, Edoardo             Associate         2023         2022           $775.00     93.30        $72,307.50
Savitch, Ethan R.              Associate      in process      2024           $850.00     77.00        $65,450.00
Scales, Manon T.               Associate         2016         2016         $1,440.00     73.80       $106,272.00
Scales, Manon T.               Associate         2016         2016         $1,475.00      1.50         $2,212.50
Scales, Manon T.               Associate         2016         2016         $1,575.00     68.00       $107,100.00
Schaaff, Harold J.             Associate         2023         2023           $850.00     37.00        $31,450.00
Schapiro, Bella                Associate         2021         2019         $1,310.00      7.20         $9,432.00
Scheffer, William M.           Associate         2023         2022         $388.00**      7.00         $2,716.00
Scheffer, William M.           Associate         2023         2022           $775.00   1,004.80      $778,720.00
Scheffer, William M.           Associate         2023         2022         $1,295.00     16.80        $21,756.00


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                                                            Year of                     Total
                                               Year of                                               Total
    Timekeeper Name                Position                Law School   Hourly Rate     Hours
                                              Admission                                           Compensation
                                                           Graduation                   Billed
Schmidt, Julianne M.           Associate      in process      2024           $850.00     20.90        $17,765.00
Schulweis, Danielle B.         Associate         2017         2016         $1,440.00      2.40         $3,456.00
Schutt, Robert P.              Associate         2023         2022           $775.00    491.50       $380,912.50
Schutt, Robert P.              Associate         2023         2022           $960.00     19.20        $18,432.00
Schutt, Robert P.              Associate         2023         2022           $995.00    196.10       $195,119.50
Schutt, Robert P.              Associate         2023         2022         $1,295.00      3.90         $5,050.50
Schwartz, Maxwell E.           Associate         2020         2019            $0.00*      0.50            $0.00*
Schwartz, Maxwell E.           Associate         2020         2019         $1,310.00    126.20       $165,322.00
Schwartz, Maxwell E.           Associate         2020         2019         $1,365.00     51.60        $70,434.00
Schwartz, Maxwell E.           Associate         2020         2019         $1,450.00     84.80       $122,960.00
Schwartz, Maxwell E.           Associate         2020         2019         $1,490.00      0.10           $149.00
Setren, Kira R.                Associate         2024         2023           $775.00    347.40       $269,235.00
Setren, Kira R.                Associate         2024         2023           $850.00    157.50       $133,875.00
Setren, Kira R.                Associate         2024         2023           $995.00     22.30        $22,188.50
Sgobbo, Joy M.                 Associate         2024         2023           $775.00      8.10         $6,277.50
Shehada, Emile R.              Associate         2023         2022         $480.00**      4.90         $2,352.00
Shehada, Emile R.              Associate         2023         2022           $775.00    818.80       $634,570.00
Shehada, Emile R.              Associate         2023         2022           $960.00    228.10       $218,976.00
Shehada, Emile R.              Associate         2023         2022           $995.00    457.50       $455,212.50
Shelton, Chase J.              Associate         2023         2021         $1,295.00     71.60        $92,722.00
Shelton, Chase J.              Associate         2023         2021         $1,395.00     25.80        $35,991.00
Shure, Harrison B.             Associate         2024         2023           $775.00    429.70       $333,017.50
Shure, Harrison B.             Associate         2024         2023           $850.00    395.90       $336,515.00
Simpson, James G.              Associate         2017         2016         $1,440.00    354.60       $510,624.00
Simpson, James G.              Associate         2017         2016         $1,475.00     17.80        $26,255.00
Simpson, James G.              Associate         2017         2016         $1,575.00      3.40         $5,355.00
Stein, Adam J.                 Associate      in process      2024           $850.00    130.10       $110,585.00
Stern, Corey J.                Associate         2023         2022           $775.00    450.20       $348,905.00
Stern, Corey J.                Associate         2023         2022           $960.00      4.00         $3,840.00
Stern, Corey J.                Associate         2023         2022           $995.00     14.80        $14,726.00
Strand, Matthew L.             Associate         2020         2020         $698.00**      1.20           $837.60
Strand, Matthew L.             Associate         2020         2020         $1,205.00   1,035.10    $1,247,295.50
Strand, Matthew L.             Associate         2020         2020         $1,310.00    152.90       $200,299.00
Strand, Matthew L.             Associate         2020         2020         $1,395.00    482.60       $673,227.00
Sullivan, Charles H.           Associate         2019         2018         $1,365.00      0.30           $409.50
Sullivan, Charles H.           Associate         2019         2018         $1,395.00    129.70       $180,931.50
Sullivan, Charles H.           Associate         2019         2018         $1,490.00    253.20       $377,268.00
Tagliabue, Giada G.            Associate         2023         2021         $1,295.00    250.80       $324,786.00
Tagliabue, Giada G.            Associate         2023         2021         $1,395.00     11.80        $16,461.00
Thompson, Andrew A.            Associate         2021         2018         $1,365.00    282.90       $386,158.50
Thompson, Andrew A.            Associate         2021         2018         $1,395.00      5.80         $8,091.00
Tokatlioglu, Melike            Associate         2022         2020         $1,205.00      0.50           $602.50
Toobin, Adam J.                Associate         2023         2022         $388.00**      1.30           $504.40
Toobin, Adam J.                Associate         2023         2022           $775.00   1,225.50      $949,762.50
Toobin, Adam J.                Associate         2023         2022           $960.00     84.80        $81,408.00
Toobin, Adam J.                Associate         2023         2022           $995.00    185.90       $184,970.50


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                                                            Year of                     Total
                                               Year of                                               Total
   Timekeeper Name                 Position                Law School   Hourly Rate     Hours
                                              Admission                                           Compensation
                                                           Graduation                   Billed
Toobin, Adam J.                Associate         2023         2022         $1,295.00      0.90         $1,165.50
Uller, Frederik K.             Associate         2015         2017         $1,395.00     14.60        $20,367.00
Van Allen, Leanne M.           Associate         2022         2021           $960.00    105.80       $101,568.00
Van Allen, Leanne M.           Associate         2022         2021         $1,205.00      2.80         $3,374.00
Van Allen, Leanne M.           Associate         2022         2021         $1,295.00     25.10        $32,504.50
Van Holten, Luke H.            Associate         2021         2020         $1,395.00    807.90     $1,127,020.50
Van Holten, Luke H.            Associate         2021         2020         $1,450.00     18.20        $26,390.00
Vickers, Michelle A.           Associate         2015         2015         $1,475.00     61.40        $90,565.00
Vickers, Michelle A.           Associate         2015         2015         $1,575.00      3.40         $5,355.00
Wadhawan, Subhah               Associate         2024         2023           $775.00    263.00       $203,825.00
Wadhawan, Subhah               Associate         2024         2023           $850.00    637.90       $542,215.00
Wadhawan, Subhah               Associate         2024         2023           $995.00     29.50        $29,352.50
Wang, Lisa V.                  Associate         2024         2023           $775.00    270.30       $209,482.50
Wang, Lisa V.                  Associate         2024         2023           $850.00    779.20       $662,320.00
Wang, Lisa V.                  Associate         2024         2023           $995.00     28.10        $27,959.50
Weinberg Crocco, Fabio         Associate         2011         2017           $765.00      3.70         $2,830.50
Weinberg Crocco, Fabio         Associate         2011         2017         $1,395.00   1,037.70    $1,447,591.50
Weinberg Crocco, Fabio         Associate         2011         2017         $1,440.00    433.10       $623,664.00
Weinberg Crocco, Fabio         Associate         2011         2017         $1,530.00    449.20       $687,276.00
Weldon, Christopher M.         Associate         2018         2017         $1,395.00    112.90       $157,495.50
Wells, Madeline N.             Associate      in process      2024           $850.00     11.80        $10,030.00
Wiltse, Aaron J.               Associate         2018         2017         $1,395.00    306.20       $427,149.00
Wiltse, Aaron J.               Associate         2018         2017         $1,440.00    221.50       $318,960.00
Wiltse, Aaron J.               Associate         2018         2017         $1,530.00     17.60        $26,928.00
Wish, Jordan M.H.              Associate         2015         2014         $1,475.00      1.70         $2,507.50
Wu, Mimi                       Associate         2016         2015         $1,475.00   1,173.30    $1,730,617.50
Wünsche, Frederic              Associate         2018         2017         $1,395.00    152.40       $212,598.00
Xu, Sam                        Associate         2024         2023           $775.00    277.80       $215,295.00
Xu, Sam                        Associate         2024         2023           $850.00     63.70        $54,145.00
Yildirim, Ozan                 Associate         2022         2022           $775.00     23.90        $18,522.50
Yu, Meng                       Associate         2021         2020         $698.00**      5.00         $3,490.00
Yu, Meng                       Associate         2021         2020         $1,205.00     63.80        $76,879.00
Yu, Meng                       Associate         2021         2020         $1,310.00    201.30       $263,703.00
Yu, Meng                       Associate         2021         2020         $1,395.00    123.80       $172,701.00
Zahn, Arnold                   Associate         2023         2023           $775.00    682.20       $528,705.00
Zahn, Arnold                   Associate         2023         2023           $850.00    772.70       $656,795.00
Zhang, Naiquan                 Associate         2023         2022           $775.00    621.20       $481,430.00
Zhang, Naiquan                 Associate         2023         2022           $960.00     57.90        $55,584.00
Zhang, Naiquan                 Associate         2023         2022           $995.00    190.90       $189,945.50
Zhang, Naiquan                 Associate         2023         2022         $1,295.00      4.40         $5,698.00
Zhao, Lilian                   Associate         2023         2022           $775.00    175.80       $136,245.00
Zhou, Wenyi                    Associate      in process      2024           $850.00     81.20        $69,020.00
Zhu, Angela                    Associate         2021         2020         $1,205.00     20.40        $24,582.00
Zonenshayn, Benjamin           Associate         2023         2022         $498.00**      4.00         $1,992.00
Zonenshayn, Benjamin           Associate         2023         2022           $775.00    709.90       $550,172.50
Zonenshayn, Benjamin           Associate         2023         2022           $960.00    353.70       $339,552.00


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                                                                  Year of                       Total
                                                     Year of                                                  Total
    Timekeeper Name                 Position                     Law School   Hourly Rate       Hours
                                                    Admission                                              Compensation
                                                                 Graduation                     Billed
Zonenshayn, Benjamin            Associate             2023          2022           $995.00      794.30        $790,328.50
Zonenshayn, Benjamin            Associate             2023          2022         $1,295.00       26.60         $34,447.00
Abril-Martorell García,                                             2018
Joaquín                         Visiting Lawyer       2018                           $775.00      55.20        $42,780.00
Baek, Seungdong                 Visiting Lawyer       2016                           $775.00      44.50        $34,487.50
Berti, Matteo                   Visiting Lawyer       2020         2016              $775.00     138.30      $107,182.50
Cuesta Garayoa, Álvaro          Visiting Lawyer       2020         2019              $775.00     159.40      $123,535.00
Cuesta Garayoa, Álvaro          Visiting Lawyer       2020         2019              $850.00     145.60      $123,760.00
Placanica, Umberto              Visiting Lawyer       2021         2017              $850.00      42.00        $35,700.00
Zhao, Jiawei                    Visiting Lawyer       2016         2015              $775.00      67.00        $51,925.00
Chia, Vanessa                   Trainee Solicitor     2023         2021              $550.00      70.40        $38,720.00
Iyer, Siddhant A.               Trainee Solicitor     2024         2022              $550.00      15.00         $8,250.00
Morris-Dyer, Sebastian D.       Trainee Solicitor                  2021              $550.00     107.90        $59,345.00
Necula, Gabriela                Trainee Solicitor      2023        2021              $550.00      91.80        $50,490.00
U Jin, Nicholas                 Trainee Solicitor   in process     2023              $550.00      16.20         $8,910.00
Associate Total                                                                                 98,851.00 $108,627,374.20
Lawyers Total                                                                                  150,087.80 $216,625,621.50
Ayrle, Benedikt                 Law Clerk                                            $550.00      52.10        $28,655.00
Bauer, Philipp                  Law Clerk                                            $550.00      18.50        $10,175.00
Dehner, Tillmann C.             Law Clerk                                            $550.00      35.00        $19,250.00
Huber, David                    Law Clerk                                            $550.00      10.00         $5,500.00
                                Summer
Ahn, Ju Hee                     Associate                                             $0.00*     21.00             $0.00*
                                Summer
Artis, Maya A.                  Associate                                             $0.00*     29.80             $0.00*
                                Summer
Atlas, Jacob A.                 Associate                                             $0.00*     12.20             $0.00*
                                Summer
Baum, Jack F.                   Associate                                             $0.00*     8.40              $0.00*
                                Summer
Berzin, Victoria M.             Associate                                             $0.00*     14.40             $0.00*
                                Summer
Bharanidaran, Rupan K.          Associate                                             $0.00*     16.70             $0.00*
                                Summer
Bonomo, Alexandria              Associate                                             $0.00*     12.70             $0.00*
                                Summer
Brown, Sophia E.                Associate                                             $0.00*     4.60              $0.00*
                                Summer
Budd, Brian S.                  Associate                                             $0.00*     59.80             $0.00*
                                Summer
Cohen, Jordan M.                Associate                                             $0.00*     57.40             $0.00*
                                Summer
DeMelis, Nathaniel J.           Associate                                             $0.00*    101.40             $0.00*
                                Summer
DiGerolamo, Nicholas A.         Associate                                             $0.00*     19.10             $0.00*




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                                                            Year of                     Total
                                                Year of                                             Total
    Timekeeper Name                 Position               Law School   Hourly Rate     Hours
                                               Admission                                         Compensation
                                                           Graduation                   Billed
                                Summer
DiGiovanni, Callen T.           Associate                                      $0.00*   63.80           $0.00*
                                Summer
Dokurno, Neil A.                Associate                                      $0.00*   141.90          $0.00*
                                Summer
D'Urso, Christopher J.          Associate                                      $0.00*    2.10           $0.00*
                                Summer
Eisen, Benjamin J.              Associate                                      $0.00*    2.50           $0.00*
                                Summer
Fineberg, Sam J.                Associate                                      $0.00*   29.90           $0.00*
                                Summer
Fink, Chloe L.                  Associate                                      $0.00*    2.60           $0.00*
                                Summer
Fischer, S. Donnavon            Associate                                      $0.00*   66.50           $0.00*
                                Summer
Fregia, Preston D.              Associate                                      $0.00*    1.80           $0.00*
                                Summer
Grabianski, Matthew C.          Associate                                      $0.00*   20.90           $0.00*
                                Summer
Green, Russell M.               Associate                                      $0.00*   50.90           $0.00*
                                Summer
Grodovich, Jessica E.           Associate                                      $0.00*   29.10           $0.00*
                                Summer
Gursoy, Berke B.                Associate                                      $0.00*   42.10           $0.00*
                                Summer
Han, Joseph                     Associate                                      $0.00*   25.10           $0.00*
                                Summer
Huang, Frank J.                 Associate                                      $0.00*   16.50           $0.00*
                                Summer
Kalach, Farrah F.               Associate                                      $0.00*   32.30           $0.00*
                                Summer
Keenan, Thomas A.               Associate                                      $0.00*   39.80           $0.00*
                                Summer
Kenny, Kathryn C.               Associate                                      $0.00*    1.00           $0.00*
                                Summer
Kenny-Pessia, Emma              Associate                                      $0.00*   19.50           $0.00*
                                Summer
Killen, Madeline B.             Associate                                      $0.00*   12.20           $0.00*
                                Summer
Lee, Ellis R.                   Associate                                      $0.00*    3.20           $0.00*
                                Summer
Malpass, Emily R.               Associate                                      $0.00*    4.40           $0.00*
                                Summer
Mariotti, Jackson M.            Associate                                      $0.00*   55.00           $0.00*
                                Summer
Nam, Sofia N.                   Associate                                      $0.00*   35.10           $0.00*



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                                                            Year of                     Total
                                                Year of                                             Total
    Timekeeper Name                 Position               Law School   Hourly Rate     Hours
                                               Admission                                         Compensation
                                                           Graduation                   Billed
                                Summer
Newman, Alexander               Associate        2024                          $0.00*   44.20           $0.00*
                                Summer
Paladino, Alexa N.              Associate                                      $0.00*   20.60           $0.00*
                                Summer
Palavajjhala, Anshul V.         Associate                                      $0.00*   101.60          $0.00*
                                Summer
Palmberg, Natalie I.            Associate                                      $0.00*   12.20           $0.00*
                                Summer
Pang, Belisa A.                 Associate                                      $0.00*   38.10           $0.00*
                                Summer
Parker, Davis R.                Associate                                      $0.00*    7.70           $0.00*
                                Summer
Parsons, Olivia G.              Associate                                      $0.00*   28.50           $0.00*
                                Summer
Quarles, Randal E.              Associate                                      $0.00*    6.90           $0.00*
                                Summer
Reda, Austin R.                 Associate        2024                          $0.00*   83.30           $0.00*
                                Summer
Rossin, Devin I.                Associate                                      $0.00*   16.70           $0.00*
                                Summer
Savitch, Ethan R.               Associate                                      $0.00*   65.00           $0.00*
                                Summer
Sawires, Trevor K.              Associate                                      $0.00*    1.00           $0.00*
                                Summer
Schwab, Adam J.                 Associate                                      $0.00*   11.40           $0.00*
                                Summer
Schweller, William E.           Associate                                      $0.00*    8.30           $0.00*
                                Summer
Sege, Aaron M.                  Associate                                      $0.00*   10.80           $0.00*
                                Summer
Simonds, Charles G.             Associate                                      $0.00*   23.90           $0.00*
                                Summer
Smith, Geneva J.                Associate                                      $0.00*    2.20           $0.00*
                                Summer
Smith, William B.               Associate                                      $0.00*   22.00           $0.00*
                                Summer
Sohnen, Julie R.                Associate                                      $0.00*    0.60           $0.00*
                                Summer
Sonenclar, Charles B.           Associate                                      $0.00*    3.00           $0.00*
                                Summer
Sullivan, Carly M.              Associate                                      $0.00*   15.50           $0.00*
                                Summer
Togni, Benjamin D.              Associate                                      $0.00*   31.20           $0.00*
                                Summer
Wang, Lewen                     Associate                                      $0.00*    4.50           $0.00*



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                                                            Year of                      Total
                                                Year of                                              Total
    Timekeeper Name                 Position               Law School   Hourly Rate      Hours
                                               Admission                                          Compensation
                                                           Graduation                    Billed
                                Summer
Yu, Sam                         Associate                                       $0.00*    40.90          $0.00*
Dittrich, Jakob                 Intern                                         $195.00     2.30         $448.50
Jokelson, Max A.                Intern                                         $550.00     2.70       $1,485.00
Smith, Adebowale E.             Intern                                          $0.00*     1.70          $0.00*
Atamian, Stepan G.              Paralegal                                      $425.00    32.20      $13,685.00
Atamian, Stepan G.              Paralegal                                      $530.00     8.30       $4,399.00
Baldini, Michael X.             Paralegal                                       $0.00*   334.30          $0.00*
Bjarnason, Maxim H.             Paralegal                                       $0.00*     8.40          $0.00*
Bjarnason, Maxim H.             Paralegal                                      $425.00    41.30      $17,552.50
Bjarnason, Maxim H.             Paralegal                                      $450.00    25.00      $11,250.00
Bowden, Karen E.                Paralegal                                       $0.00*     1.90          $0.00*
Bowden, Karen E.                Paralegal                                      $650.00    12.10       $7,865.00
Brice, Mac L.                   Paralegal                                       $0.00*   124.40          $0.00*
Brice, Mac L.                   Paralegal                                      $450.00   197.00      $88,650.00
Buchwald, Viola                 Paralegal                                      $565.00     1.30         $734.50
Capen, Ella S.                  Paralegal                                       $0.00*   255.60          $0.00*
Capen, Ella S.                  Paralegal                                      $530.00     3.50       $1,855.00
Carr, Helen O.                  Paralegal                                      $530.00    15.10       $8,003.00
Chen, Sophia                    Paralegal                                       $0.00*   597.20          $0.00*
Chen, Sophia                    Paralegal                                      $595.00   349.30     $207,833.50
Chen, Sophia                    Paralegal                                      $650.00    99.40      $64,610.00
Chiu, Jeffrey H.                Paralegal                                      $595.00    14.80       $8,806.00
Chiu, Jeffrey H.                Paralegal                                      $650.00    11.30       $7,345.00
Ea, Choun F.                    Paralegal                                      $650.00    11.30       $7,345.00
Eigen, Jeffrey G.               Paralegal                                      $595.00    19.00      $11,305.00
Eigen, Jeffrey G.               Paralegal                                      $650.00    17.50      $11,375.00
Elmer, Lauren A.                Paralegal                                      $450.00     3.40       $1,530.00
Foley, Aidan W.                 Paralegal                                       $0.00*    33.50          $0.00*
Foley, Aidan W.                 Paralegal                                      $450.00    15.40       $6,930.00
Foley, Aidan W.                 Paralegal                                      $565.00    57.60      $32,544.00
Ghatalia, Priyanka R.           Paralegal                                       $0.00*   721.00          $0.00*
Gill, Zoe K.                    Paralegal                                      $425.00    19.90       $8,457.50
Gill, Zoe K.                    Paralegal                                      $450.00     1.00         $450.00
Gulick, Lydia S.                Paralegal                                      $530.00     8.80       $4,664.00
Guo, Wei                        Paralegal                                      $595.00     2.80       $1,666.00
Guo, Wei                        Paralegal                                      $650.00     9.90       $6,435.00
Heuer, Maggie                   Paralegal                                       $0.00*    27.20          $0.00*
Jhalani, Sonam                  Paralegal                                      $530.00     7.00       $3,710.00



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                                                           Year of                      Total
                                               Year of                                              Total
    Timekeeper Name                Position               Law School   Hourly Rate      Hours
                                              Admission                                          Compensation
                                                          Graduation                    Billed
Katz, Jason S.                 Paralegal                                       $0.00*   135.80          $0.00*
Katz, Jason S.                 Paralegal                                      $530.00     2.40       $1,272.00
Kim, Scott J.                  Paralegal                                      $595.00    13.80       $8,211.00
Kohata, Michiko                Paralegal                                      $595.00     1.90       $1,130.50
Kohata, Michiko                Paralegal                                      $650.00     3.50       $2,275.00
Kopp, Emily A.                 Paralegal                                       $0.00*   316.10          $0.00*
Kopp, Emily A.                 Paralegal                                      $425.00    16.20       $6,885.00
Kopp, Emily A.                 Paralegal                                      $450.00    18.80       $8,460.00
Kopp, Emily A.                 Paralegal                                      $565.00    12.90       $7,288.50
Li, Kathy J.                   Paralegal                                      $425.00     0.60         $255.00
Li, Kathy J.                   Paralegal                                      $530.00     0.60         $318.00
Loigman, Ellie J.              Paralegal                                      $530.00    11.00       $5,830.00
Lupi, Francesca G.             Paralegal                                       $0.00*    57.90          $0.00*
Lupi, Francesca G.             Paralegal                                      $450.00     5.00       $2,250.00
Menin, Raina A.                Paralegal                                      $450.00     6.20       $2,790.00
Newman, Sumiko C.              Paralegal                                       $0.00*    43.90          $0.00*
Nguyen, Bach-Yen T.            Paralegal                                      $595.00    25.20      $14,994.00
O'Brien, Stella A.             Paralegal                                       $0.00*    51.50          $0.00*
Ontiveros, Virginia E.         Paralegal                                       $0.00*   778.00          $0.00*
Peay, Austin R.                Paralegal                                      $425.00    24.50      $10,412.50
Purcell, Halloran N.           Paralegal                                       $0.00*   164.30          $0.00*
Purcell, Halloran N.           Paralegal                                      $530.00     3.10       $1,643.00
Purcell, Halloran N.           Paralegal                                      $565.00    16.10       $9,096.50
Pytosh, Jordan A.              Paralegal                                       $0.00*   453.00          $0.00*
Rosario, Dario A.              Paralegal                                      $595.00    45.60      $27,132.00
Rosario, Dario A.              Paralegal                                      $650.00     1.60       $1,040.00
Rosen, Celia S.                Paralegal                                       $0.00*   298.00          $0.00*
Rosen, Celia S.                Paralegal                                      $425.00    11.90       $5,057.50
Sami, Dima M.                  Paralegal                                      $450.00     1.00         $450.00
Schlossberg, Harrison          Paralegal                                       $0.00*   280.10          $0.00*
Schlossberg, Harrison          Paralegal                                      $425.00   199.50      $84,787.50
Schlossberg, Harrison          Paralegal                                      $530.00    67.00      $35,510.00
Schlossberg, Harrison          Paralegal                                      $565.00    58.00      $32,770.00
Sen-Ghosh, Elina               Paralegal                                       $0.00*     9.60          $0.00*
Sen-Ghosh, Elina               Paralegal                                      $450.00    25.80      $11,610.00
Shahnazary, Victoria G.        Paralegal                                       $0.00*   172.90          $0.00*
Shahnazary, Victoria G.        Paralegal                                      $425.00    42.00      $17,850.00
Shahnazary, Victoria G.        Paralegal                                      $530.00    68.10      $36,093.00
Shahnazary, Victoria G.        Paralegal                                      $565.00    27.30      $15,424.50



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                                                               Year of                      Total
                                                   Year of                                                Total
    Timekeeper Name                 Position                  Law School   Hourly Rate      Hours
                                                  Admission                                            Compensation
                                                              Graduation                    Billed
Smith, Elise U.                 Paralegal                                         $450.00     1.70           $765.00
Smusz, Nicholas                 Paralegal                                          $0.00*   488.00            $0.00*
Smusz, Nicholas                 Paralegal                                         $425.00     3.40         $1,445.00
Stalick, Eleanor G.             Paralegal                                         $530.00     2.20         $1,166.00
Vasylyk, Natalia                Paralegal                                          $0.00*   292.70            $0.00*
Vasylyk, Natalia                Paralegal                                         $425.00     2.10           $892.50
Vasylyk, Natalia                Paralegal                                         $530.00     1.20           $636.00
West, Molly E.                  Paralegal                                         $425.00    40.10        $17,042.50
West, Molly E.                  Paralegal                                         $530.00    63.80        $33,814.00
West, Molly E.                  Paralegal                                         $565.00     2.50         $1,412.50
Wiley, Jack T.                  Paralegal                                          $0.00*   590.30            $0.00*
Wiley, Jack T.                  Paralegal                                         $530.00    17.10         $9,063.00
Williams, Thursday K.           Paralegal                                         $425.00    50.70        $21,547.50
Williams, Thursday K.           Paralegal                                         $450.00    38.70        $17,415.00
Williams, Thursday K.           Paralegal                                         $565.00     1.80         $1,017.00
Yamasaki, Sonoko                Paralegal                                         $650.00     1.30           $845.00
Yearby, Sabine                  Paralegal                                         $650.00     2.00         $1,300.00
Zhukovsky, Hannah S.            Paralegal                                         $530.00   107.30        $56,869.00
                                Legal Analyst -
Abad, Bonifacio J.              Litigation                                        $595.00   1,667.70     $992,281.50
                                Legal Analyst -
Abad, Bonifacio J.              Litigation                                        $650.00   146.60        $95,290.00
                                Legal Analyst -
Ahmed, Fareed                   Litigation                                        $595.00   1,442.00     $857,990.00
                                Legal Analyst -
Ahmed, Fareed                   Litigation                                        $650.00    36.50        $23,725.00
                                Legal Analyst -
Arebamen, Ehi G.                Litigation                                        $595.00   1,753.90    $1,043,570.50
                                Legal Analyst -
Arebamen, Ehi G.                Litigation                                        $650.00   270.90       $176,085.00
                                Legal Analyst -
Baskerville, Phillip L.         Litigation                                        $595.00    55.50        $33,022.50
                                Legal Analyst -
Dilone, Jenna                   Litigation                                        $595.00   1,080.00     $642,600.00
                                Legal Analyst -
Dilone, Jenna                   Litigation                                        $650.00    13.00         $8,450.00
                                Legal Analyst -
Edwards, LaToya C.              Litigation                                        $595.00   1,122.20     $667,709.00
                                Legal Analyst -
Flynn, Camille A.               Litigation                                        $595.00   1,334.50     $794,027.50
                                Legal Analyst -
Fukui, Terry M.                 Litigation                                         $0.00*   818.70            $0.00*




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                                                                Year of                      Total
                                                    Year of                                                Total
    Timekeeper Name                  Position                  Law School   Hourly Rate      Hours
                                                   Admission                                            Compensation
                                                               Graduation                    Billed
                                 Legal Analyst -
Fukui, Terry M.                  Litigation                                        $595.00   140.90        $83,835.50
                                 Legal Analyst -
Fukui, Terry M.                  Litigation                                        $650.00   284.30       $184,795.00
                                 Legal Analyst -
Godin, Ruth P.                   Litigation                                        $595.00   539.90       $321,240.50
                                 Legal Analyst -
Harris-Cox, Dawn A.              Litigation                                        $595.00   1,224.20     $728,399.00
                                 Legal Analyst -
Harris-Cox, Dawn A.              Litigation                                        $650.00    16.60        $10,790.00
                                 Legal Analyst -
Hazard, Joshua M.                Litigation                                        $595.00   1,759.10    $1,046,664.50
                                 Legal Analyst -
Hazard, Joshua M.                Litigation                                        $650.00   420.90       $273,585.00
                                 Legal Analyst -
Hewitson, Sally                  Litigation                                        $595.00   1,662.70     $989,306.50
                                 Legal Analyst -
Hewitson, Sally                  Litigation                                        $650.00   477.60       $310,440.00
                                 Legal Analyst -
Isacoff, Nicole I.               Litigation                                        $595.00   610.70       $363,366.50
                                 Legal Analyst -
Johnson, Sherry T.               Litigation                                        $595.00   922.90       $549,125.50
                                 Legal Analyst -
Johnson, Sherry T.               Litigation                                        $650.00    38.10        $24,765.00
                                 Legal Analyst -
Jordan, Frank A.                 Litigation                                        $595.00   1,901.80    $1,131,571.00
                                 Legal Analyst -
Koveshnikoff, Serge N.           Litigation                                        $595.00   1,673.80     $995,911.00
                                 Legal Analyst -
Koveshnikoff, Serge N.           Litigation                                        $650.00    30.80        $20,020.00
                                 Legal Analyst -
Mao, Charles                     Litigation                                        $595.00    1.60            $952.00
                                 Legal Analyst -
Maratheftis, Georgia             Litigation                                        $595.00   1,069.30     $636,233.50
                                 Legal Analyst -
Maratheftis, Georgia             Litigation                                        $650.00    27.00        $17,550.00
                                 Legal Analyst -
Perry, Robin                     Litigation                                        $595.00   1,984.70    $1,180,896.50
                                 Legal Analyst -
Perry, Robin                     Litigation                                        $650.00    90.00        $58,500.00
                                 Legal Analyst -
Providence, Robert O.            Litigation                                        $595.00   1,289.40     $767,193.00
                                 Legal Analyst -
Providence, Robert O.            Litigation                                        $650.00    7.50          $4,875.00
                                 Legal Analyst -
Ragnanan, Nicolette S.           Litigation                                        $595.00   721.50       $429,292.50



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                                                                Year of                      Total
                                                    Year of                                                Total
    Timekeeper Name                  Position                  Law School   Hourly Rate      Hours
                                                   Admission                                            Compensation
                                                               Graduation                    Billed
                                 Legal Analyst -
Ragnanan, Nicolette S.           Litigation                                        $650.00   331.30       $215,345.00
                                 Legal Analyst -
Samuel, Dawn C.                  Litigation                                        $595.00   2,107.40    $1,253,903.00
                                 Legal Analyst -
Samuel, Dawn C.                  Litigation                                        $650.00   505.80       $328,770.00
                                 Legal Analyst -
Zhong, Shan                      Litigation                                         $0.00*   919.40            $0.00*
                                 Legal Analyst -
Zhong, Shan                      Litigation                                        $595.00    0.10             $59.50
                                 Legal Analyst -
Isacoff, Nicole I.               Discovery                                         $595.00    2.30          $1,368.50
                                 Legal Analyst -
McMahon, Mary R.                 Discovery                                         $595.00   848.00       $504,560.00
                                 Legal Analyst -
McMahon, Mary R.                 Discovery                                         $650.00    37.00        $24,050.00
                                 Electronic
Cabrera, Ismael                  Discovery                                         $550.00    3.20          $1,760.00
                                 Electronic
Dooley, Stephen P.               Discovery                                         $550.00    40.10        $22,055.00
                                 Electronic
Fanning, Carrie R.               Discovery                                         $550.00   101.80        $55,990.00
                                 Electronic
Gilday, Joseph F.                Discovery                                         $550.00   999.80       $549,890.00
                                 Electronic
Hossein, Saud M.                 Discovery                                         $550.00    29.80        $16,390.00
                                 Electronic
Kordic, Alma                     Discovery                                         $550.00    16.90         $9,295.00
                                 Electronic
Long, Jacky Q.                   Discovery                                         $550.00    2.60          $1,430.00
                                 Electronic
Lopez, Nathaniel S.              Discovery                                         $550.00    35.40        $19,470.00
                                 Electronic
Masurka, Evan R.                 Discovery                                         $550.00    81.80        $44,990.00
                                 Electronic
Mian, Ahmed A.                   Discovery                                         $550.00    9.80          $5,390.00
                                 Electronic
Newman, Eric M.                  Discovery                                         $550.00   359.10       $197,505.00
                                 Electronic
Phan, Jimmy T.                   Discovery                                         $550.00    1.30            $715.00
                                 Electronic
Schaffel, Brad                   Discovery                                         $550.00    0.40            $220.00
                                 Electronic
Sheikh, Faisal M.                Discovery                                         $550.00    44.70        $24,585.00
                                 Electronic
Walther, Wayne M.                Discovery                                         $490.00    5.30          $2,597.00



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                                                               Year of                       Total
                                                   Year of                                                 Total
    Timekeeper Name                Position                   Law School   Hourly Rate       Hours
                                                  Admission                                             Compensation
                                                              Graduation                     Billed
                               Electronic
Walther, Wayne M.              Discovery                                          $550.00    195.90        $107,745.00
                               Electronic
Wolowski, Nicholas D.          Discovery                                          $550.00    315.10        $173,305.00
                               Electronic
Ybanez, Jecamiah M.            Discovery                                          $490.00     39.90         $19,551.00
                               Electronic
Ybanez, Jecamiah M.            Discovery                                          $525.00     29.80         $15,645.00
                               Electronic
Yim, Eileen Y. L.              Discovery                                          $550.00    291.80        $160,490.00
                               Electronic
Zevallos, Ralph                Discovery                                          $550.00      4.30          $2,365.00
Non Legal Personnel Total                                                                    44,040.30  $20,344,076.50
GRAND TOTAL                                                                                 194,128.10 $236,969,698.00

          * Zero rate appears wherever no fee was charged for work.
          ** 50% rate appears where time is charged for non-working travel.
                                              Blended Hourly Rate: $1,220.69




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